      Case 2:20-cv-02892-SHL-tmp   Document 593   Filed 03/19/24   Page 1 of 9
                                   PageID 34435



                    IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF TENNESSEE
                             WESTERN DIVISION


JESSICA JONES, et al.,                    Case No. 2:20-cv-02892-SHL-tmp

                 Plaintiﬀs,

v.

VARSITY BRANDS, LLC, et al.               JURY DEMAND
                 Defendants.




     PLAINTIFFS' SUPPLEMENTAL MOTION TO UNSEAL FILINGS PREVIOUSLY
                           FILED UNDER SEAL




 Case No. 2:20-cv-02892-SHL-tmp
PLAINTIFFS' SUPPLEMENTAL MOTION TO UNSEAL FILINGS PREVIOUSLY FILED UNDER SEAL
      Case 2:20-cv-02892-SHL-tmp                           Document 593                  Filed 03/19/24               Page 2 of 9
                                                           PageID 34436



                                                   TABLE OF CONTENTS

INTRODUCTION ...........................................................................................................................1

BACKGROUND .............................................................................................................................1

REQUESTED RELIEF ....................................................................................................................2

          A.           e Court Should Grant Leave to Refile Filings that Defendants and ird
                     Parties Agree Should be Unsealed. ..........................................................................2

          B.           e Court Should Permit the Parties to Refile Filings in Part with
                     Redactions ................................................................................................................3




 Case No. 2:20-cv-02892-SHL-tmp       ii
PLAINTIFFS' SUPPLEMENTAL MOTION TO UNSEAL FILINGS PREVIOUSLY FILED UNDER SEAL
    Case 2:20-cv-02892-SHL-tmp              Document 593          Filed 03/19/24       Page 3 of 9
                                            PageID 34437



                                          INTRODUCTION

       On November 21, 2023, Plaintiﬀs filed a motion to unseal briefs and documents

previously filed under seal. See ECF No. 529. After filing the motion, Defendants agreed to

review the materials that they had previously designated as confidential and agreed to unseal as

much of the material as possible, and that the parties would then bring to the Court any

remaining sealing issues. See ECF No. 542. Defendants have finished that task and the parties

have met and reached agreement to unseal in whole or in part a number of documents previously

filed under seal in their entirety. Plaintiﬀs propose that these materials be filed in the public

docket at this juncture, with the parties reserving their rights with respect to the redacted

portions.

            us, Plaintiﬀs ask the Court to permit the parties to refile the briefs, unsealing all

materials that the parties agreed may be unsealed. Defendants have confirmed that they either do

not oppose or take no position on this request.

       A Proposed Order permitting the filing of previously sealed materials is submitted

herewith.

                                           BACKGROUND

       On November 21, 2023, Plaintiﬀs filed a motion to unseal certain filings filed under seal

because they contained material designated confidential pursuant to the Protective Order. See

ECF No. 529. Among other things, Plaintiﬀs asserted that principles of open access to the courts

and the importance of this litigation supported the filing of certain materials on the Court’s

docket. Id; see also ECF No. 131 (Order re Sealing Sparingly). On December 12, 2023, the

parties filed a joint motion to withdraw that motion, ECF No. 542, so that Defendants could re-

review the materials that they had designated as confidential and so that the parties could agree to

unseal as much as possible. See ECF No. 542 at ¶¶ 5, 6, 8. Defendants have completed their

review process, and provided plaintiﬀs with a list of all of the portions of briefs and exhibits that

Defendants intend to seek to maintain under seal, along with an explanation of why it should be

kept under seal and the legal authority for sealing. See ECF No. 542 at ¶ 8.        e Defendants agree


 Case No. 2:20-cv-02892-SHL-tmp          1
PLAINTIFFS' SUPPLEMENTAL MOTION TO UNSEAL FILINGS PREVIOUSLY FILED UNDER SEAL
    Case 2:20-cv-02892-SHL-tmp                Document 593          Filed 03/19/24      Page 4 of 9
                                              PageID 34438



that the majority of the legal briefs previously filed under seal should be unsealed, although they

assert that some portions of the briefs should be redacted from public view. Although Plaintiﬀs

disagree with Defendants’ proposed redactions and believe that the entirety of the legal briefs

should be unsealed, Plaintiﬀs are not asking the Court to determine whether the redacted

materials are properly sealable at this time. Plaintiﬀs believe it would be prudent to first re-file

what the parties agree may be unsealed, and then address the sealing of the redacted materials

and underlying exhibits at a later date.

       Defendants have agreed that a significant portion of their previously confidential

materials may be unsealed in whole or in part. Pursuant to the joint motion, Plaintiﬀs have met

and conferred with the third parties whose material was designated confidential. See ECF No.

542 at ¶ 10.       e third-party plaintiﬀs from the related case Fusion Elite All Stars, et al. v. Varsity

Brands, LLC, et al.; Case No. No. 2:20-cv-02600-SHL-tmp (“Fusion Elite Plaintiﬀs”) have also

agreed that a significant portion of their previously confidential materials may be unsealed. See

Decl. of K. Rayhill ¶¶ 2–4. No other third-party material is contained in the briefs.

                                         REQUESTED RELIEF

       A.          ๠e Court Should Grant Leave to Refile Filings that Defendants and ๠ird
                   Parties Agree Should be Unsealed.

       Pursuant to the joint motion at ECF No. 542, Defendants re-reviewed materials filed

under seal because they contained material previously designated as confidential. Having

reviewed these filings, Plaintiﬀs and Defendants now agree that the following filings may be

unsealed in their entirety:

                    Plaintiﬀs’ Class Certification Brief (ECF No. 389);

                    Defendants’ Opposition to Motion to Exclude Orszag and Murphy (ECF No.
                     423);

                    Plaintiﬀs’ Opposition to Motion to Exclude Netz (ECF No. 426);

                    Plaintiﬀs’ Opposition to Motion to Exclude Heeb (ECF No. 430);

                    Defendants’ Reply in support of Motion to Exclude Netz (ECF No. 445);



 Case No. 2:20-cv-02892-SHL-tmp          2
PLAINTIFFS' SUPPLEMENTAL MOTION TO UNSEAL FILINGS PREVIOUSLY FILED UNDER SEAL
    Case 2:20-cv-02892-SHL-tmp              Document 593        Filed 03/19/24      Page 5 of 9
                                            PageID 34439



                    Plaintiﬀs’ Reply in support of Motion for Class Certification (ECF No. 454);

                    Webb’s Brief in Support of Motion Summary Judgment (ECF No. 467);

                    USASF’s Brief in support of Motion for Summary Judgment (ECF No. 469);

                    Bain’s Brief in support of Motion for Summary Judgment (ECF No. 472);

                    Charlesbank’s Brief in support of Motion for Summary Judgment (ECF No.
                     473);

                    Plaintiﬀs’ Opposition to Webb Motion for Summary Judgment Brief (ECF No.
                     477);

                    Plaintiﬀs’ Opposition to USASF Motion for Summary Judgment Brief (ECF
                     No. 479);

                    Webb’s Reply in support of Motion for Summary Judgment (ECF No. 503); and

                    USASF’s Reply in support of Motion for Summary Judgment (ECF No. 504).
       Plaintiﬀs have also communicated with the relevant third parties whose material was

referenced in these filings. See Decl. of K. Rayhill ¶¶ 2–4. All third parties have confirmed that

nothing in these filings should be sealed. Id. ¶¶ 2–4.    us, Plaintiﬀs ask the Court for leave to

refile these filings publicly without any sealing.

       B.           ๠e Court Should Permit the Parties to Refile Filings in Part with Redactions

       After re-reviewing the materials, Defendants have agreed to unseal in part certain other

materials containing previously-designated confidential materials. With respect to other portions,

Defendants maintain their confidentiality designations. Plaintiﬀs have also met and conferred

with the relevant third parties and have confirmed that the Fusion Elite Plaintiﬀs have also

maintained confidentiality designations with respect to other portions of the filings. See Decl. of
K. Rayhill ¶¶ 2-4. Plaintiﬀs do not agree that Defendants and third-party Fusion Elite Plaintiﬀs’

proposed redactions are proper. However, pursuant to the joint motion at ECF No. 542, the

parties have substantially reduced the amount of material in the filings covered by confidentiality

designations.




 Case No. 2:20-cv-02892-SHL-tmp          3
PLAINTIFFS' SUPPLEMENTAL MOTION TO UNSEAL FILINGS PREVIOUSLY FILED UNDER SEAL
    Case 2:20-cv-02892-SHL-tmp            Document 593         Filed 03/19/24       Page 6 of 9
                                          PageID 34440



       Pursuant to that stipulated eﬀort, Plaintiﬀs ask the Court at this time for leave to refile the

following filings, maintaining redactions covering the portions designated confidential by

Defendants and third-party Fusion Elite Plaintiﬀs:

              Defendants’ Memorandum of Law in Support of Motion to Exclude Testimony of
               Plaintiﬀs’ Proﬀered Expert Janet S. Netz, PHD (ECF No 383);

              Plaintiﬀs’ Memorandum of Law in Support of Plaintiﬀs' Motion to Exclude
               Jonathan M. Orszag and Dr. Kevin Murphy, In Part (ECF No 384);

              Defendants’ Memorandum of Law in Support of Motion to Exclude Testimony of
               Plaintiﬀs' Proﬀered Expert Randal Heeb, PHD (ECF No 390);

              Defendants' Memorandum of Law in Support of Motion to Exclude Testimony of
               Plaintiﬀs' Proﬀered Expert Jen Maki, PHD (ECF No 392);

              Defendants’ Memorandum of Law in Response to Plaintiﬀs’ Motion for Class
               Certification (ECF No 421);

              Plaintiﬀs' Opposition to Defendants' Motion to Exclude the Testimony of Jen
               Maki, PHD (ECF No 428);

              Plaintiﬀs’ Reply in Support of Motion to Exclude Orszag and Murphy (ECF No
               441);

              Defendants’ Statement of Undisputed Material Facts in Support of Defendants’
               Joint Motion for Summary Judgment (ECF No 468);

              Defendants' Memorandum of Law in Support of Joint Motion for Summary
               Judgment (ECF No 471);

              Plaintiﬀs’ Statement of Additional Undisputed Facts ISO Plaintiﬀs' Oppositions to
               Defendants' Motion for Summary Judgment (ECF No 480);

              Plaintiﬀs’ Response to Statement of Undisputed Material Facts in Support of
               Defendants' Joint Motion for Summary Judgment (ECF No 482);

              Plaintiﬀs' Opposition to Defendants Charlesbank Partners, LLC and Bain Capital
               Private Equity’s Motion for Summary Judgment (ECF No 484);


 Case No. 2:20-cv-02892-SHL-tmp          4
PLAINTIFFS' SUPPLEMENTAL MOTION TO UNSEAL FILINGS PREVIOUSLY FILED UNDER SEAL
    Case 2:20-cv-02892-SHL-tmp           Document 593        Filed 03/19/24   Page 7 of 9
                                         PageID 34441



              Plaintiﬀs' [Corrected] Opposition to Defendants' Joint Motion for Summary
               Judgment (ECF No 488-1);

              Defendants' Reply Memorandum of Law in Support of Joint Motion for Summary
               Judgment (ECF No 505);

              Bain's and Charlesbank's Individual Reply Memorandum of Law in Support of
               Motion for Summary Judgment (ECF No 506);

              Defendants' Reply in Support of Statement of Undisputed Material Fact (ECF No
               507); and

              Defendants' Response to Plaintiﬀs' Additional Statements of Fact (ECF No 508).
Defendants either do not oppose or take no position on this request.



Dated: March 19, 2024                           Respectfully submitted,

                                                By:       /s/ David Seidel
                                                             David Seidel

                                                Joseph R. Saveri*
                                                Ronnie Seidel Spiegel*+
                                                David Seidel*
                                                Kevin E. Rayhill*
                                                Elissa A. Buchanan*
                                                JOSEPH SAVERI LAW FIRM, LLP
                                                601 California Street, Suite 1000
                                                San Francisco, California 94108
                                                Telephone: (415) 500-6800
                                                Facsimile: (415) 395-9940
                                                jsaveri@saverilawfirm.com
                                                rspiegel@saverilawfirm.com
                                                dseidel@saverilawfirm.com
                                                krayhill@saverilawfirm.com
                                                eabuchanan@saverilawfirm.com

                                                Van Turner Jr. (TN Bar No. 22603)
                                                TURNER FEILD, PLLC
                                                2650 ousand Oaks Blvd., Suite 2325
                                                Memphis, Tennessee 38118
                                                Telephone: (901) 290-6610
                                                Facsimile: (901) 290-6611

 Case No. 2:20-cv-02892-SHL-tmp          5
PLAINTIFFS' SUPPLEMENTAL MOTION TO UNSEAL FILINGS PREVIOUSLY FILED UNDER SEAL
   Case 2:20-cv-02892-SHL-tmp   Document 593     Filed 03/19/24     Page 8 of 9
                                PageID 34442



                                     VTurner@TurnerFeildLaw.com

                                     Richard M. Paul III*
                                     Ashlea Schwarz*
                                     PAUL LLP
                                     601 Walnut, Suite 300
                                     Kansas City, Missouri 64106
                                     Telephone: (816) 984-8100
                                     rick@paulllp.com
                                     ashlea@paulllp.com

                                     Jason S. Hartley*
                                     HARTLEY LLP
                                     101 West Broadway, Suite 820
                                     San Diego, CA 92101
                                     Telephone: (619) 400-5822
                                     hartley@hartleyllp.com
                                     Daniel E. Gustafson*
                                     Daniel C. Hedlund*
                                     Daniel J. Nordin*
                                     GUSTAFSON GLUEK PLLC
                                     Canadian Pacific Plaza
                                     120 South Sixth Street, Suite 2600
                                     Minneapolis, MN 55402
                                     Telephone: (612) 333-8844
                                     Facsimile: (612) 339-6622
                                     dgustafson@gustafsongluek.com
                                     dhedlund@gustafsongluek.com
                                     dnordin@gustafsongluek.com

                                     * Admitted pro hac vice

                                     +Located in Washington State

                                     Attorneys for Individual and
                                     Representative Plaintiﬀs




 Case No. 2:20-cv-02892-SHL-tmp          6
PLAINTIFFS' SUPPLEMENTAL MOTION TO UNSEAL FILINGS PREVIOUSLY FILED UNDER SEAL
    Case 2:20-cv-02892-SHL-tmp            Document 593       Filed 03/19/24      Page 9 of 9
                                          PageID 34443



                             CERTIFICATE OF CONSULTATION

       I hereby certify, pursuant to Local Rule 7.2(a)(1)(B), that I met and conferred with

counsel for Defendants regarding this motion several times, both telephonically and through

email correspondence. Defendants have informed me that they do not oppose and/or take no

position with respect to the requested relief.

                                                                     /s/ David Seidel

                                                                      David H. Seidel




 Case No. 2:20-cv-02892-SHL-tmp          7
PLAINTIFFS' SUPPLEMENTAL MOTION TO UNSEAL FILINGS PREVIOUSLY FILED UNDER SEAL
